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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO
                                ___________________________

UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                                                No. 22-cr-1723-WJ

EDWIN PADILLA,

               Defendant.


                     MEMORANDUM OPINION AND ORDER
             REJECTING PROPOSED RULE 11(c)(1)(C) PLEA AGREEMENT

       THIS MATTER comes before the Court following a hearing on Defendant’s Sentencing

Memoranda (Doc. 33) and the United States’ Sentencing Memorandum (Doc. 34). Having

reviewed the pleadings of the parties and the reports from the United States Probation Office

(Docs. 30, 35, 40), heard the oral arguments of counsel, and considered the applicable law, the

parties’ request that the Court accept the Rule 11(c)(1)(C) plea agreement (Doc. 36) to a specific

sentence of 12 months and 1 day incarceration is not well-taken, and is, therefore, REJECTED.

                                        BACKGROUND

       Defendant Edwin Padilla is charged with conspiracy pursuant to 8 U.S.C.

§ 1324(a)(1)(A)(v)(I) for transporting and harboring illegal aliens (the Count). Doc. 13. Padilla

reached a plea agreement with the Government pursuant to Federal Rule of Criminal Procedure

11(c)(1)(C) for a specific sentence of 12 months and 1 day of incarceration on the Count. Doc. 27,

¶ 11(a). After reaching the Rule 11(c)(1)(C) deal, the United States Probation Office (“Probation”)

released Padilla’s Pre-Sentence Report (“PSR”), in which Probation calculated the United States




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Sentencing Guidelines (“Sentencing Guidelines”) range to be 30–37 months, with a total offense

level 17 and criminal history category III. Doc. 30, PSR, ¶ 78.

       In his plea agreement, Padilla made the following admission:

       On or between September 27, 2021 and September 27, 2022 in Bernalillo County
       in the District of New Mexico and elsewhere, I agreed with another person to
       transport and harbor aliens. Specifically, I agreed with my co-conspirator (whose
       identity is known to me) that my co-conspirator would travel from Dallas to
       Albuquerque, to my residence located at 237 90th Street SW, 87121, (the two‑story
       structure at that address). Once he arrived, my co-conspirator would pick up two to
       three undocumented non-citizens and drive them to Dallas. I paid my
       co‑conspirator for related expenses . . . . On September 27, 2022, Homeland
       Security Agents found approximately 28 undocumented non-citizens in my
       residence. I knew these people were present in the United States illegally, and I
       agreed to harbor them at my residence so that they would remain undetected by law
       enforcement. I harbored them for monetary gain. I entered the conspiracy knowing
       that the objective was to harbor and transport aliens, and I voluntarily involved
       myself in the conspiracy.

Doc. 27, ¶ 9.

       Without Defendant Padilla’s acceptance of responsibility, the Sentencing Guidelines range

would be 41–51 months. Doc. 30, PSR, ¶ 79. In addition to the baseline offense, the Sentencing

Guidelines range calculations were increased for: (1) harboring 25–99 unlawful aliens, and (2)

possessing a firearm. Doc. 30, PSR, ¶¶ 23–24. Defendant Padilla does not dispute the factual basis

for either increase. Doc. 33. Instead, he argues “[s]uch a weak connection between the gun and the

alien smuggling supports a variance from the guideline range.” Id. Essentially, despite the

enhancement being “appropriate,” Defendant Padilla takes issue with the resultant 6–7 month

increase in time incarcerated. Doc. 33 at 2–3; Doc. 30, PSR, ¶ 24. The Defendant asserts the

Sentencing Guidelines range would be 24–30 months without this gun-related increase. Doc. 33

at 3. The Government explicitly disavows any “significant hearsay and confrontation problems”

as levied by the Defendant; instead explaining the plea agreement is largely the result of the

logistical hurdles stemming from the cooperating witness’s pending prosecution in New York.


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Doc. 33 at 3–5; Doc. 34 at 2–3. The Government emphasizes this witness’s unavailability by

placing it on a pedestal as a “justifiable reason” for accepting the plea, but simultaneously

disregards the available would‑be testimony from law enforcement on‑scene during the execution

of the September 27, 2022, search warrant. Doc. 30, PSR, ¶¶ 13–14; Doc. 34 at 2. Despite the

inconvenience associated with transporting the coconspirator-witness between New York and New

Mexico, the Court is not convinced this reason justifies deviating so significantly from the

guidelines—given the presumptive availability of law enforcement and other corroborating

witnesses. Doc. 2 at 7; Doc. Doc. 30, PSR, ¶¶ 13–15. As it stands, Padilla has justifiably reduced

his exposure between 11–14 months by accepting responsibility—yet he and the Government have

entered into a Rule 11(c)(1)(C) plea that further reduces his term of imprisonment by another 18–

25 months (this time without sufficient justifiable reasons). Ultimately, both parties hang their hat

on issues with a cooperating Government witness the driving force for this deal. Id. On its face,

this plea agreement fails to take into account the Sentencing Guidelines, the nature and

circumstances of the offense, the seriousness of the offense, the PSR, or Defendant Padilla’s

behavior while incarcerated—wherein he, again, possessed contraband (namely, fentanyl and

methamphetamine). Doc. 40, Second Add. to PSR at 1.

        After evaluating the Defendant’s applicable Sentencing Guidelines range and the § 3553(a)

factors, the Court rejects the Rule 11(c)(1)(C) plea agreement proposed by Padilla and the

Government because a specific sentence of 12 months and 1 day is not sufficient to satisfy the

goals of sentencing.1




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  The Court notes, of course, that Padilla has the opportunity to withdraw his guilty plea in light of the Court’s
rejection of the Rule 11(c)(1)(C) plea agreement. See United States v. Byrum, 567 F.3d 1255, 1261 (10th Cir. 2009);
Fed. R. Crim. P. 11(c)(5).

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                                           DISCUSSION

I.      Relevant law on Rule 11(c)(1)(C) plea agreements

        Federal Rule of Criminal Procedure 11(c)(1)(C) allows the prosecution and the defendant

to agree to a specific sentence range—and if accepted by the Court—then it is bound to impose a

sentence within the agreed upon range. Fed. R. Crim. P. 11(c)(1)(C). Given that “sentencing is

within the exclusive purview of the district court, the court has a wide range of discretion to either

accept or reject sentence bargains, as contemplated by Rule 11(c)(1)(B) and (C).” United States v.

Macias-Gonzalez, 219 F. App’x 814, 817 (10th Cir. 2007). Federal sentencing law requires the

sentencing judge to impose “a sentence sufficient, but not greater than necessary,” to accomplish

the goals of sentencing, the Sentencing Guidelines, and other § 3553(a) factors. 18 U.S.C.

§ 3553(a). Although the Sentencing Guidelines are not binding, “[i]n deciding whether to accept

an agreement that includes a specific sentence, the district court must consider the Sentencing

Guidelines.” Hughes v. United States, 138 S. Ct. 1765, 1773 (2018); see United States v. Lewis,

398 F. Supp. 3d 945, 983–84 (D.N.M. 2019), on reconsideration in part, 432 F. Supp. 3d 1237

(D.N.M. 2020) (“Even when a defendant enters into a binding, 11(c)(1)(C) agreement, the district

court must still consider the Sentencing Guidelines, and “may not accept the agreement unless the

sentence is within the applicable Guidelines range, or it is outside that range for justifiable reasons

specifically set out.”) (citing Hughes, 138 S. Ct. at 1769); United States v. Dodds, 772 F. App’x

733, 735 (10th Cir. 2019) (“[T]he Sentencing Guidelines prohibit district courts from accepting

[Rule 11(c)(1)(C)] agreements without first evaluating . . . the defendant’s Guidelines

range . . . .”) (citing Hughes, 138 S. Ct. at 1776).

        The Tenth Circuit has explained “Rule 11 vests district courts with the discretion to accept

or reject plea agreements” without defining the specific criteria to apply. United States v.



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Robertson, 45 F.3d 1423, 1437 (10th Cir. 1995); see also Morgan v. United States Dist. Court (In

re Morgan), 506 F.3d 705, 710 (9th Cir. 2007) (“[N]owhere does Rule 11 define the criteria by

which a district court should exercise the discretion the rule confers, or explain how a district court

should determine whether to accept a plea agreement.”). So long as a district court exercises

“sound judicial discretion in rejecting a tendered plea, Rule 11 is not violated.” Id. (citing

Santobello v. New York, 404 U.S. 257, 262 (1971)). Of note, the Sentencing Guidelines “require

the district judge to give due consideration to the relevant sentencing range, even if the defendant

and prosecutor recommend a specific sentence as a condition of the guilty plea.” Freeman v.

United States, 564 U.S. 522, 530 (2011); see United States v. Carrigan, 778 F.2d 1454, 1462 (10th

Cir. 1985) (“There is no absolute right to have a guilty plea accepted, and a court may reject a plea

in the exercise of sound judicial discretion.” (citing Santobello, 404 U.S. at 262)).

       The power to sentence criminal defendants lies with the district court, not the parties

themselves. See Gall v. United States, 552 U.S. 38, 51–53 (2007). Sentence bargaining, as done

here, severely “implicates judicial discretion by limiting the sentencing power of the district court.”

Robertson, 45 F.3d at 1437 (noting specific sentence plea agreements “attempt to completely

curtail that discretion, [and] a district court’s decision to preserve that aspect of judicial power is

not an abuse of discretion”). The Court is within its purview to reject an agreement when it “unduly

cabin[s]” its sentencing discretion. See United States v. Sabit, 797 Fed. Appx. 218, 221 (6th Cir.

2019) (citing In re Morgan, 506 F.3d at 712). A district court is “free, in certain respects, to take

an ‘active role’ once the agreement is disclosed.” United States v. Miles, 10 F.3d 1135, 1140 (5th

Cir. 1993); see also United States v. Sandoval-Enrique, 870 F.3d 1207, 1217 (10th Cir. 2017)

(citing United States v. Kraus, 137 F.3d 447, 452 (7th Cir. 1998)). As a backstop to guarantee

courts exercise “sound judicial discretion and adequately respect the principle of prosecutorial



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independence,” the Tenth Circuit has stated a district court “must set forth, on the record, the

prosecution’s reasons for framing the bargain and the court’s justification for rejecting it.”

Robertson, 45 F.3d at 1438.

II.    Parties’ arguments

       The Government asserts the plea agreement saves considerable resources and avoids both

logistical and credibility issues with their main witness who is also in custody for alien smuggling.

Doc. 34 at 2–3. The Government does not dispute “[a] sentence within the guideline range is the

best approach to preventing unwarranted sentencing disparities between similarly situated

defendants.” Id. at 3. Again, however, they assert the disparity is warranted because of “the arrest

of the cooperating witness.” Id.

       Defendant Padilla submits that several sentencing factors support the stipulated sentence.

First, his history and characteristics are generally favorable—he is a father who has a long history

of employment. Doc. 33 at 1–2. Additionally, he argues the nature and circumstances of the

offense support the plea agreement’s terms given the lack of harm imposed on the immigrants

coupled with their lack of involvement in smuggling drugs or guns. Id. at 2. Padilla, like the

Government, then claims issues with the prosecution’s witness provide significant support for the

sentence. Id. at 3.

III.   Analysis
       District courts must submit a defendant’s sentence to “thorough adversarial testing,” and

determine if the Sentencing Guidelines “fail[] to properly reflect § 3553(a) considerations.” Rita

v. United States, 551 U.S. 338, 351 (2007). This Court’s job is not to impose a reasonable

sentence, but instead “impose a sentence sufficient, but not greater than necessary, to comply

with the purposes of section 3553(a)(2).” United States v. Conlan, 500 F.3d 1167, 1169 (10th



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Cir. 2007) (citation omitted). In so doing, the Court has “considerable leeway” in rejecting

sentence‑bargains. Robertson, 45 F.3d 1439.

        Additionally, a court is permitted to consider uncharged conduct for sentencing purposes.

See United States v. Magallanez, 408 F.3d 672, 684 (10th Cir. 2005) (“No limitation shall be

placed on the information concerning the background, character, and conduct of a person convicted

of an offense which a court of the United States may receive and consider for the purpose of

imposing an appropriate sentence.” (quoting 18 U.S.C. § 3661)). In United States v. Allen, the

Tenth Circuit explained it was “unreasonable” for a district court to impose a sentence more than

two-and-a-half times the top end of the Sentencing Guidelines based on uncharged conduct. United

States v. Allen, 488 F.3d 1244, 1245 (10th Cir. 2007). This conclusion was not based upon the

district court’s consideration of uncharged conduct, but instead upon the excessive weight this

conduct was given. Id. at 1259. Here, conversely, the parties have agreed to a sentence two-and-

a-half to three times below the Sentencing Guidelines—giving exaggerated weight to a singular

reason as justification.

        The Court has considered the factors in § 3553(a), and several of those factors weigh

heavily against accepting this Rule 11(c)(1)(C) plea agreement. First, the nature and circumstances

of the offense as well as the history and characteristics of the defendant. Obviously, Defendant

Padilla’s family circumstances and work history play a role in sentencing. Doc. 34 at 1–2. But the

Government’s statement that Padilla is “no stranger to law enforcement”—as evidenced by his

criminal history category III—neutralizes these positive characteristics. Doc. 34 at 3; Doc. 30,

PSR, ¶ 43. As for the nature and circumstances of the offense: Padilla conspired to harbor and

transport at least 28 illegal aliens while in possession of a firearm, fentanyl, and methamphetamine.

These facts weigh heavily against accepting the plea agreement. 18 U.S.C. § 3553(a)(1). Second,



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a sentence of 12 months and 1 day creates an unwarranted sentence disparity with other similarly

situated defendants. 18 U.S.C. § 3553(a)(6). Third, the kinds of sentence and the sentencing range

established for the offense committed by this category of defendant weigh against the proposed

sentence. § 3553(a)(4), (5). Finally, the proposed sentence of 12 months and 1 day does not meet

the goals of sentencing provided in § 3553(a)(2) because it does not reflect the seriousness of the

offense, promote respect for the law, or provide just punishment for this offense.

         After reviewing Padilla’s admissions in the plea agreement, the PSR, and the Sentencing

Guidelines, this Court finds the proposed sentence of 12 months and 1 day insufficient to satisfy

the goals of sentencing. At best, this case falls squarely inside the “heartland” of conspiracy to

transport and harbor illegal aliens contemplated in the guidelines. Rita, 551 U.S. at 351. In an

ordinary case, the sentencing range reflects “a rough approximation of sentences that might

achieve § 3553(a)’s objectives.” Kimbrough v. United States, 552 U.S. 85, 109 (2007) (quoting

Rita, 551 U.S. at 350). At worst, the nature and circumstances of the offense are more aggravating

than ordinary. Whatever downward pressure Defendant Padilla’s fatherhood and employment play

(even when coupled with the Government’s potential witness2 issue), these considerations are

outweighed by the upward pressure stemming from his weapon possession, drug possession, cartel

connections, and the business‑like methodology of interstate shipment of these aliens. See United

States v. Smith, 2020 U.S. App. LEXIS 15391, at *4 (6th Cir. 2020) (taking into account “the

conspiracy’s interstate activity, the number of [victims], . . . and the length and continuous nature

of the conspiracy”). In fact, the Court highlights the availability of law enforcement to testify

regarding their on‑scene actions and observations during the execution of the search warrant—

specifically, their discovery of: (1) fentanyl, (2) methamphetamine, (3) a loaded Springfield


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 The substantial risk that no conviction would result if case went to trial was a “justifiable reason” for a sentence that
departs from the Sentencing Guidelines range. United States v. Stone, 374 F. Supp. 2d 983, 989–90 (D.N.M. 2005).

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Armory Hellcat Pro 9mm firearm, (4) ledgers, and (5) at least 28 undocumented non‑citizens. Doc.

30, PSR, ¶¶ 13–14. Likewise, Padilla’s neighbors are presumably available to testify regarding

their observations that Padilla’s premises “continuously” had large groups of people coming and

going as well as with the fact Padilla solicited help in transporting illegal aliens. Doc. 30, PSR,

¶ 15. Unlike in Stone, where the trial court “share[d]” in the United States’ concern that “no

conviction” was likely if the plea wasn’t accepted—here, the Court is not concerned with the

strength of the Government’s case (and apparently neither is the Government). Stone, 374 F. Supp.

2d at 989–90; Doc. 34 at 2. For the reasons explained below, the Court concludes neither the

logistics nor resources required to transport the coconspirator‑witness are a justifiable reason for

accepting the outside‑guideline plea agreement.


       A. The nature and circumstances of the offense, history and characteristics of the
       defendant, and sentencing disparity

       The nature and circumstances of the offense weigh against accepting the plea. Defendant

Padilla orchestrated a substantially complex commercial enterprise wherein he and a

co‑conspirator harbored and transported illegal aliens across state lines for profit. Doc 27 at 4–5.

By his own admission, Padilla was harboring at least 28 illegal aliens. Id. Moreover, the Court

should view his relationship with a cartel as a cause for concern. Doc. 30, PSR, ¶ 9. At the time

of his arrest, Padilla was also in the possession of a firearm, fentanyl, and methamphetamine. Doc.

30, PSR, ¶ 14. The circumstances of the offense are undoubtedly serious.

       Padilla’s history and characteristics as a supportive father with a long history of

employment are mitigating. Doc. 33 at 1–2. Conversely, Padilla is not unfamiliar to the criminal

justice system—as evidenced by his criminal history category III. Doc. 30, PSR, ¶ 43. When




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taking into account his continued misconduct while incarcerated, this factor weighs against

accepting the plea agreement. Doc. 40, Second Add. to PSR at 1.

       Additionally, a sentence of 12 months and 1 day creates an unwarranted sentence disparity

with other defendants who have been found guilty of similar conduct for conspiring to transport

and harbor illegal aliens. Similarly situated defendants who conspired to transport and harbor 25–

99 illegal aliens while in possession of a firearm would be sentenced to 30–37 months incarceration

(so long as they also accept responsibility). Doc. 30, PSR, ¶¶ 22–32. Logistical hardship

concerning a Government witness is not a justifiable reason for accepting this sweetheart plea

agreement imposing a sentence two-thirds below the Guidelines range. See USSG § 6B1.2(b). The

proposed sentence is not commensurate with the crime committed vis-à-vis similarly situated

offenders. 18 U.S.C. § 3553(a)(6).

       B. Sentencing range and policy statement

       The Supreme Court explained that a “court may not accept the [Type-C] agreement unless

the court is satisfied that ‘(1) the agreed sentence is within the applicable guideline range; or (2)(A)

the agreed sentence is outside the applicable guideline range for justifiable reasons; and (B) those

reasons are set forth with specificity.’” Hughes, 138 S. Ct. at 1773 (quoting USSG § 6B1.2(c)).

       Here, the plea offer is based primarily on the logistical and trial issues involving “the arrest

of the cooperating witness.” Doc. 34 at 2–3. The degree of the discrepancy is so great, however,

that the plea hardly reflects the conduct as Padilla admitted in his plea agreement or the PSR. Doc.

27 at 4–5; Doc. 30, PSR, ¶¶ 9, 14 (describing Padilla’s cartel affiliation and listing then 10 grams

of fentanyl and 10.2 grams of methamphetamine); see United States v. Rutter, 897 F.2d 1558, 1564

(10th Cir. 1990) (ruling that the sentencing court may additionally consult the PSR to determine

relevant conduct). Whatever effect the Government’s potential witness issue plays, it does not



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serve as a justifiable reason for slashing Padilla’s punitive exposure by two‑thirds. These

sentencing factors weigh against accepting the Rule 11(c)(1)(C) plea agreement. 18 U.S.C. §

3553(a)(4), (5); U.S.S.G. § 6B1.2(c).

   C. Seriousness of the offense, promoting respect for the law, and providing just
      punishment for the offense

       A sentence of 12 months and 1 day is insufficient to satisfy the goals of sentencing provided

in § 3553(a)(2)—namely, the need for the sentence imposed to reflect the seriousness of the

offense, to promote respect for the law, and to provide just punishment for the offense. In the plea

agreement, Padilla admits to harboring at least 28 illegal aliens for profit—whereby he would pay

his coconspirator to transport the illegal aliens at a time from Albuquerque, New Mexico to Dallas,

Texas. Doc. 27, ¶ 9. This is a serious offense. Padilla’s criminal conduct suggests he does not obey

or respect the law. Moreover, the underlying offense shows a disregard for both public safety and

community. Accepting this plea agreement would send the precisely wrong message to Padilla and

the public: transporting and harboring dozens of unlawful aliens isn’t serious. These sentencing

factors weigh heavily against accepting the plea agreement.

                                          CONCLUSION

       The Court has carefully considered the Sentencing Guidelines, § 3553(a) factors, and

sentencing goals. Specifically, the Court considered the Guidelines’ range for the applicable

category of offense committed by the applicable category of the defendant. In so doing, the Court

concludes that a specific sentence of 12 months and 1 day incarceration is not sufficient to meet

the goals of sentencing.




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       For the reasons set forth in this Memorandum Opinion and Order, the Court REJECTS

the Rule 11(c)(1)(C) plea agreement (Doc. 27) for a specific sentence of 12 months and 1 day.

       IT IS SO ORDERED.



                                            ______________________________________
                                            CHIEF UNITED STATES DISTRICT JUDGE




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